
666 So.2d 140 (1996)
Linda McGhee, Petitioner,
v.
DEPARTMENT OF CORRECTIONS, Respondent.
No. 85636.
Supreme Court of Florida.
January 11, 1996.
Louis K. Rosenbloum and Virginia M. Buchanan of Levin, Middlebrooks, Mabie, Thomas, Mayes &amp; Mitchell, P.A., Pensacola, and Dawn Wiggins Hare of Hare and Hare, Monroeville, AL, for Petitioner.
Robert A. Butterworth, Attorney General and Laura Rush, Assistant Attorney General, Tallahassee, for Respondent.
*141 Loren E. Levy of the Law Offices of Larry E. Levy, Tallahassee, amicus curiae, for Academy of Florida Trial Lawyers.
Jack W. Shaw, Jr. of Brown, Obringer, Shaw, Beardsley &amp; Decandio, P.A., Jacksonville, amicus curiae, for Florida Defense Lawyers Association.
PER CURIAM.
We have for review the following question passed upon by the First District Court of Appeal and certified to be of great public importance:
WHETHER THE DEPARTMENT OF CORRECTIONS MAY BE HELD LIABLE AS A RESULT OF THE CRIMINAL ACTS OF AN ESCAPED PRISONER?
Department of Corrections v. McGhee, 653 So.2d 1091, 1093 (Fla. 1st DCA 1995). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const. We recently answered the identical question in Vann v. Department of Corrections, 662 So.2d 339 (Fla. 1995), in the negative by holding the Department of Corrections "could not be held liable for the criminal acts of an escaped prisoner because no common law duty was owed by the department to protect a particular individual from such potential harm." Id. at 340. We likewise answer the certified question in this case in the negative and approve the district court's decision.
It is so ordered.
GRIMES, C.J., and OVERTON, SHAW, KOGAN, HARDING, WELLS and ANSTEAD, JJ., concur.
